         Case 1:22-cv-04844-EK-RER Document 4 Filed 08/17/22 Page 1 of 2 PageID #: 35

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________ Districtofof
                                                                     New   York
                                                                        __________

                                                                )
        CONGREGATION YETEV LEV                                  )
                                                                )
        D'SATMAR, INC.                                          )
                            Plaintiff(s)                        )
                                v.
                                                                )
                                                                        Civil Action No.   1:22-cv-4844 EK-RER
                                                                )
                                                                )
  ENGIE POWER & GAS, LLC                                        )
  f/k/a PLYMOUTH ROCK ENERGY, LLC                               )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                      ENGIE POWER & GAS, LLC
                                      c/o: Capitol Serices, Inc., Registered Agent
                                      1218 Central Ave., Ste. 100
                                      Albany, NY 12205

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                      Milberg Coleman Bryson Phillips Grossman, PLLC
                                      Victoria J. Maniatis
                                      100 Garden City Plaza
                                      Garden City, NY 11530
                                      vmaniatis@milberg.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

           8/17/2022                                                      s/Kimberly Davis
Date:
                                                                                     Signature of Clerk or Deputy Clerk
           Case 1:22-cv-04844-EK-RER Document 4 Filed 08/17/22 Page 2 of 2 PageID #: 36

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                  , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                        ; or

               Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
